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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION



JAMES CARMICHAEL,

               Plaintiff,

v.                                                     Case No. 2:20-cv-274-FtM-66NPM

THE SCHOOL BOARD OF LEE
COUNTY, FLORIDA

               Defendant.


                                          ORDER

      On August 20, 2020, the Court held a preliminary pretrial conference. At the

conference, the parties jointly requested that the Court enter a Rule 502(d) order with a

claw back provision. As set forth below, the oral motion is granted.

      1. This Order shall be applicable to and govern all deposition transcripts and/or

          videotapes, and documents produced in response to requests for production of

          documents, answers to interrogatories, responses to requests for admissions,

          affidavits, declarations and all other information or material produced, made

          available for inspection, or otherwise submitted by any of the parties in this

          litigation as well as testimony adduced at trial or during any hearing (collectively

          “Information”).

      2. The    disclosure    of   privileged   or   work-product   protected    documents,

          electronically stored information (“ESI”) or Information, whether inadvertent or

          otherwise, is not a waiver of the privilege or protection from discovery in this

          case or in any other federal or state proceeding. This Order shall be interpreted
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        to provide the maximum protection allowed by Federal Rule of Evidence

        502(d).

     3. Nothing contained herein is intended to or shall serve to limit a party’s right to

        conduct a review of documents, ESI or Information (including metadata) for

        relevance, responsiveness and/or segregation of privileged and/or protected

        Information before production.

     4. In the event that a document protected by the attorney client privilege, the

        attorney work product doctrine or other applicable privilege or protection is

        unintentionally produced by any party to this proceeding, the producing party

        may request that the document be returned. In the event that such a request is

        made, all parties to the litigation and their counsel shall promptly return all

        copies of the document in their possession, custody, or control to the producing

        party and shall not retain or make any copies of the document or any

        documents derived from such document. Any electronic copies will be deleted

        promptly. The producing party shall promptly identify the returned document on

        a privilege log. The unintentional disclosure of a privileged or otherwise

        protected document shall not constitute a waiver of the privilege or protection

        with respect to that document or any other documents involving the same or

        similar subject matter. This “claw back” provision will also apply to any non-

        parties who produce documents and electronically stored information in

        response to third-party discovery.

     Accordingly, it is hereby ORDERED:

     The Oral Joint Motion for Entry of a 502(d) Order (Doc. 18) is GRANTED.



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     DONE and ORDERED in Fort Myers, Florida on August 20, 2020.




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